Case 4:12-cv-00543-ALM Document 175 Filed 06/25/15 Page 1 of 19 PageID #: 8324



                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 UNITED STATES OF AMERICA                       §
 Ex rel. Michael J. Fisher, Brian Bullock and   §
 Michael Fisher, Individually and Brian         §
 Bullock, Individually,                         §
                                                §            CASE NO. 4:12-CV-543-ALM
        Plaintiffs,                             §
                                                §
 vs.                                            §            JURY TRIAL DEMANDED
                                                §
 Ocwen Loan Servicing, LLC,                     §
                                                §
        Defendant.                              §


             RELATORS’ EMERGENCY MOTION TO COMPEL 30(b)(6)
           TESTIMONY AND THE PREDICATE DOCUMENT PRODUCTION

Dated: June 25, 2015                                Respectfully submitted:

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Case 4:12-cv-00543-ALM Document 175 Filed 06/25/15 Page 2 of 19 PageID #: 8325




                                                TABLE OF CONTENTS

I.     INTRODUCTION .............................................................................................................. 1

II.    SUMMARY OF REQUESTED RELIEF ........................................................................... 3

III.   BACKGROUND ................................................................................................................ 3

       A.        Relators Served Five 30(b)(6) Deposition Notices. ................................................ 3

       B.        Ocwen’s Document Production Delay.................................................................... 4

       C.        Ocwen Refuses to Proffer Witnesses for Any Topics. ........................................... 6

IV.    ARGUMENT AND AUTHORITIES ................................................................................. 7

       A.        The Deposition Notices Seek Highly Relevant Information and Are Reasonably
                 Tailored. .................................................................................................................. 7

       B.        The Deposition Notices are Procedurally Proper.................................................. 10

       C.        Ocwen’s Delay Jeopardizes the Court’s Schedule................................................ 10

V.     CONCLUSION AND PRAYER FOR RELIEF ............................................................... 15




                                                                  (i)
Case 4:12-cv-00543-ALM Document 175 Filed 06/25/15 Page 3 of 19 PageID #: 8326




       Relators Michael J. Fisher and Brian Bullock (“Relators”) file this Emergency Motion to

Compel 30(b)(6) testimony and the production of predicate documents, and respectfully show

the Court as follows:

                                    I.      INTRODUCTION

       On behalf of the United States government, this lawsuit seeks to recoup the nearly two

billion dollars1 the government has paid as a result of Ocwen’s misrepresentations related to

government programs designed to help struggling homeowners, including the Home Affordable

Modification Program (“HAMP”). To expose the fraud, Relators seek additional evidence of

Ocwen’s violations of state and federal laws and regulations meant to protect borrowers from

predatory lenders. Because Ocwen has completed over 550,000 loan modifications since 2008

and more HAMP-sponsored modifications than any other servicer,2 Ocwen’s diverse violations

generate voluminous relevant documents. It is also necessary for Ocwen witnesses to provide

testimony on the company’s behalf concerning Ocwen’s operations, policies, the resulting

violations, and related issues, including testimony regarding the documents that evidence the

violations.

       Against the backdrop of this case of massive significance to U.S. taxpayers and

homeowners, Ocwen has responded with consistent delay and resistance at every step. Relators

served four 30(b)(6) deposition notices (Relators’ Second through Fifth notices) covering 66

topics, and Ocwen has refused to provide witnesses for a single topic. Ocwen has provided two

(invalid) reasons for failing to provide a witness.




1
 See Treasury HAMP report, attached as Ex. E, at 52.
2
  See Ocwen’s 2015 10-K, attached as Ex. F. Ocwen’s SEC filings indicate Ocwen has completed more than
559,000 loan modifications since January 2008 and Ocwen has completed 20% of all HAMP-sponsored
modifications, 45% more than the next highest servicer.

RELATORS’ EMERGENCY MOTION TO COMPEL– PAGE 1
Case 4:12-cv-00543-ALM Document 175 Filed 06/25/15 Page 4 of 19 PageID #: 8327




        First, Ocwen argues (without discussing any specific topics) that the “sheer number of

topics” is improper. The topics in fact all seek information central to this case, including

Ocwen’s modification procedures (Relators’ Second Notice), certifications of compliance to

HAMP (Relators’ Third Notice), violations (Relators’ Fourth Notice), and financials (Relators’

Fifth Notice). The notice concerning violations includes 34 topics, a number which is consistent

with Ocwen’s broad and diverse illegal modification practices, as detailed in Relators’

complaint.

        Second, Ocwen argues that the notices are technically deficient because, in addition to a

date certain, the notices state that the depositions would need to be postponed if Ocwen did not

substantially complete its document production. To date, over five months after Relators served

their initial document requests on January 15, Ocwen has served only 14 (woefully deficient)

sample loan files and approximately 707 internal “business documents” (i.e., everything other

than loan files), in addition to some of Relator Bullock’s emails. Ocwen has millions of relevant

documents, and trickling them out in tens and hundreds at a time does not comport with this

Court’s schedule, this District’s discovery practice or with modern discovery protocol. Ocwen

must not be allowed to hide the ball.3

        As a predicate to the 30(b)(6) depositions, Relators request that the Court order Ocwen to

substantially complete the production of its business documents (i.e., the responsive documents

except loan files; Relators intend to file a separate motion to compel regarding the loan files)

within 10 days of the Court’s order. Next, Relators request that the Court order Ocwen to




3
  As discussed below (infra Part IV(C)), Ocwen’s delay in this case conforms to its resistance to the similar
legitimate discovery efforts of California regulators. Ocwen repeatedly failed to comply with California’s requests
for loan servicing documents, resulting in a $2,500,000 fine and the loss of Ocwen’s right to take new California
customers.
RELATORS’ EMERGENCY MOTION TO COMPEL                                                                        Page 2
Case 4:12-cv-00543-ALM Document 175 Filed 06/25/15 Page 5 of 19 PageID #: 8328




produce witnesses for the noticed 30(b)(6) topics, between 45 and 60 days after completion of

the production (to allow Relators a reasonable time for review and analysis of the documents).

                        II.     SUMMARY OF REQUESTED RELIEF

       For the reasons explained below, Relators respectfully request that the Court order the

following:

       (1)     Ocwen must complete its production of business documents (all responsive
               documents except loan files) by 10 days from the Court’s Order; and
       (2)     Ocwen must provide dates for the requested 30(b)(6) depositions between 45 and
               60 days of the Court’s Order.

       An alternative to (1) that this Court may wish to consider so that delay is minimized and

this case can move more efficiently through discovery, is to enter an order requiring all parties to

simply produce all documents reasonably bearing on a claim or defense by a date certain (e.g.,

twenty days form the date of the order). Such an order would expedite production of

information, eliminate the objections process and move this case along. As the Court is well

aware, some courts within this judicial district utilize such a disclosure process to expedite

discovery and eliminate delay and for many years under the Civil Justice Expense and Delay

Reduction Plan, such a disclosure process was indeed the rule for the district as a whole. Given

the time constraints in this case and the delay to date, the Court would be well within its

discretion to enter such an order to put this case back on track.

                                     III.    BACKGROUND

       A.      Relators Served Five 30(b)(6) Deposition Notices.

       In March 2015, Relators served five 30(b)(6) deposition notices. The first notice focuses

on Ocwen’s electronic systems for storing loan modification files. After an informal call with an




RELATORS’ EMERGENCY MOTION TO COMPEL                                                             Page 3
Case 4:12-cv-00543-ALM Document 175 Filed 06/25/15 Page 6 of 19 PageID #: 8329




Ocwen representative, Relators are not pressing the first notice at this time.4 The subsequent four

notices, each served on March 24, 2015 are the subject of this motion and generally cover the

topics summarized below:

         30(b)(6)     Summary of Topics                                                          #     of    Topics
         Notice                                                                                  Topics      with
                                                                                                             subparts
         Second       (1) Corporate and organizational structure;                                14          2
         Notice5      (2) Loan modification processes, policies, procedures,
                      and compliance responsibilities;
                      (3) Hiring, firing, training, and incentives for loan
                      modification employees; and
                      (4) Outsourcing loan modification functions
         Third        (1) Ocwen’s entry into HAMP program                                        9           0
         Notice6      (2) Representations and certifications in Servicer
                      Participation Agreement and related compliance
                      responsibilities
                      (3) Management knowledge of violations and Ocwen’s
                      responses to reported violations; and
                      (4) Information regarding Relators.
         Fourth       (1)    Policies, procedures, and practices related to alleged              34          7
         Notice7      violations;
                      (2)    Audits, investigations, and reports regarding alleged
                      violations;
                      (3)    Communications with New York or California
                      regulators regarding alleged violations; and
                      (4)    Fees charged to borrowers by entities with conflicts
                      of interest as found by New York regulators
         Fifth        (1)    Financial figures and reporting regarding HAMP                      9           0
         Notice8      program and other federal program modifications
                      (2)    Policies used to increase HAMP revenue; and
                      (3)    Valuations of loan portfolios

         B.         Ocwen’s Document Production Delay

         Ocwen’s delay in producing documents is closely tied to the timing of the requested

depositions. Although Relators served comprehensive discovery requests on January 15, 2015

4
  The purpose of the first notice was in part to understand Ocwen’s data systems as a way to facilitate additional
discovery requests. It is possible that the other depositions and discovery will obviate the need for this deposition.
Relators are not pressing for it at this time, but reserve the right to do so if the other discovery is insufficient.
5
  Relators’ Second 30(b)(6) Notice, attached as Ex. A.
6
  Relators’ Third 30(b)(6) Notice, attached as Ex. B.
7
  Relators’ Fourth 30(b)(6) Notice, attached as Ex. C.
8
  Relators’ Fifth 30(b)(6) Notice, attached as Ex. D.
RELATORS’ EMERGENCY MOTION TO COMPEL                                                                             Page 4
Case 4:12-cv-00543-ALM Document 175 Filed 06/25/15 Page 7 of 19 PageID #: 8330




and February 15, 2015, by the time of the service of the Rule 30(b)(6) notices on March 24,

2015, Ocwen had produced only approximately 707 business documents and to date that remains

the extent of business documents produced.9 All but 14 of Ocwen’s hundreds of thousands of

loan files, critical to Relators’ analyses, are being withheld for no justifiable reason. Relators’

repeated requests for smaller samplings to jump start the process have fallen on deaf ear. For

example, all of Boston Portfolio’s examined files, requested by Relators, continue to be withheld

by Ocwen.

        As a result, Relators noticed the depositions for April 21-24, but also noted that “if

Ocwen has not made a substantial production of documents pursuant to Relators’ First and

Second Requests for Production by March 27, Relators will need 30 days from the production of

documents prior to the deposition.” Defendant produced no additional documents by March 27.

        More than five (5) months after the first request for production, Ocwen has produced just

over 700 business documents, less than 1% of estimated responsive documents, and has withheld

numerous categories of essential relevant documents. To illustrate, as of the date of this motion,

Ocwen has produced almost no documents that would relate to the alleged violations, including:

        (1)      No internal audits, reports, or metrics tracking potential violations;

        (2)      No emails10 or other communications concerning potential violations or

compliance issues; and

        (3)      No business or strategic plans.

        Having these documents and adequate time to review them is a predicate to taking

meaningful 30(b)(6) depositions. Relators also need these documents before they can conduct

9
  Walker Aff., attached as Ex. G, ¶¶ 2–3. Ocwen also produced 14 loan files consisting of 471 scanned documents (a
format inconsistent with the Protective Order), a so-called “database schema,” numerous emails from Relator
Bullock, and some emails from former chairman William Erbey. Id. ¶3.
10
   The only potential exceptions are the possibly relevant emails from or to Relator Bullock recently produced by
Defendant.
RELATORS’ EMERGENCY MOTION TO COMPEL                                                                       Page 5
Case 4:12-cv-00543-ALM Document 175 Filed 06/25/15 Page 8 of 19 PageID #: 8331




additional, necessary depositions, including depositions of current and former Ocwen employees

that can expound on the produced documents. Relators’ experts also need time to review and

analyze the produced documents, which is a time-consuming and complex task.

           At the June 4, 2015 hearing, Ocwen promised the Court that in two weeks it would

have produced substantially more documents. As of the filing of this motion, Ocwen’s only

additional production is (1) the 14 loan files that are themselves riddled with problems reflecting

a woefully deficient sample production, (2) a database schema, (3) a sampling of William C.

Erbey’s emails and, (4) Relator Bullock’s (one employee’s) emails.11

         C.       Ocwen Refuses to Proffer Witnesses for Any Topics.

         The parties conducted a meet and confer call regarding the deposition notices on April

20. On the call, Ocwen’s counsel argued that the notices were improper because of the “sheer

number of requests” and because the dates were contingent upon a substantial document

production.12 Relators’ counsel invited Ocwen’s counsel to explain what specific topics they

thought were overbroad, and Ocwen refused to provide specifics. Ocwen’s counsel promised to

follow up with a “more detailed response” to the notices by April 29. Ocwen did not provide a

more detailed response by that date, but sent a letter on May 8, 2015, addressing the 30(b)(6)

notices,13 along with other outstanding discovery issues raised by Relators’ April 29 letter.14

Ocwen’s May 8 letter reiterates its objections to the breadth of topics and the contingent dates.

11
   Relators’ January 15 Requests for Production requested the loan files provided to the New York monitors and the
loan files from give specified Texas counties. (Relators’ First RFP, attached as Ex. H, reqs. 64, 67). After it became
clear Ocwen would not produce all the requested loan files, on April 29 Relators requested a very small sample of
loan files so that the parties could agree on a format for producing loan files and attempt to negotiate a larger
production. Ocwen sent a list of loan numbers on May 15, requesting that Relators select 10-12 specific loan
numbers for the sample. After consulting with its experts, Relators provided a list of 14 representative loan files
from the list on May 20, 2015. Ocwen produced the 14 loan files on June 11, 2015 in the form of 471 scanned
documents. The parties are currently discussing deficiencies in that production and Relators have requested more
complete loan files. Relators intend to file a separate motion to compel regarding the loan files.
12
   Ex. G, Walker Decl., ¶ 5.
13
   May 8 Letter from Twiford to Walker, attached as Ex. I.
14
   April 29 Letter from Walker to Twiford, attached as Ex. J.
RELATORS’ EMERGENCY MOTION TO COMPEL                                                                           Page 6
Case 4:12-cv-00543-ALM Document 175 Filed 06/25/15 Page 9 of 19 PageID #: 8332




The letter cites several cases holding that noticed deposition topics were overbroad, but fails to

discuss any specific topics or provide a basis as to why any individual topic is overbroad.15

        On May 28, 2015, Relators counsel called the Court to schedule a telephonic conference

to discuss the notices, pursuant to the Court’s scheduling order.16 At that time, the Court

instructed Relators file a motion to compel. On the same day, Relators provided a letter to

Ocwen explaining why the noticed topics are not overbroad and that the cases Ocwen provided

are inapposite to the present case.17 On June 2, Ocwen’s counsel sent a letter indicating “Ocwen

and Homeward stand on their previous statements made in prior correspondences in response”

regarding the 30(b)(6) noticed topics.18

IV.     ARGUMENT AND AUTHORITIES

        A.       The Deposition Notices Seek Highly Relevant Information and Are
                 Reasonably Tailored.

        All four deposition notices seek highly relevant information, and Ocwen has never

asserted relevancy challenges for any specific topics.19 As described above in greater detail, the

Second Notice seeks information related to Ocwen’s corporate and organizational structure,

which is relevant to, among other things, Relators’ alter ego theory of liability for Ocwen

Financial Corporation.20 Similarly, Ocwen’s loan modification procedures, and its hiring and

firing practices are predicate information to understanding the reasons for Ocwen’s pervasive



15
   Ex. I, May 8 Letter, at 6–7.
16
   See Scheduling Order, Dkt. 123, at 4 (“Discovery Disputes”).
17
   May 28 Letter from Walker to Twiford, attached as Ex. K.
18
   June 2 Letter from Twiford to Walker, attached as Ex. L (Ocwen owns Homeward, the defendant in a parallel
motion to be filed, and many discovery issues are applicable to both cases.)
  California Consent Order, attached as Ex. M..
19
   In fact, Ocwen’s Initial Disclosures concede that a corporate representative would have material information
concerning essentially all the noticed topics, including “The allegations in the complaint; the requirements of the
HAMP program; Ocwen’s policies and procedures pertaining to loss mitigation; Ocwen’s compliance programs as
they pertain to loss mitigation; and Ocwen’s HAMP certifications.” Ocwen’s Initial Disclosures, attached as Ex. N.
20
   Ex. A, Relators’ Second 30(b)(6) Notice, topics 1–5.
RELATORS’ EMERGENCY MOTION TO COMPEL                                                                        Page 7
Case 4:12-cv-00543-ALM Document 175 Filed 06/25/15 Page 10 of 19 PageID #: 8333




 violations.21 The Third Notice focuses on the Servicer Participation Agreements that include the

 false certifications/representations of compliance that are central to Relators’ claims, as well as

 Ocwen’s efforts to ensure compliance with its promises, and its knowledge of violations that

 render its certifications/representations false.22 The Fourth Notice includes the most topics

 because it focuses on Ocwen’s policies and practices regarding the specific violations, including

 audits and reports uncovering potential violations. It also includes the state investigations that

 concerned and uncovered related violations.23 Finally, the Fifth Notice covers financial topics

 concerning the HAMP and VA programs to support Relators’ damages theories.24

         Ocwen’s primary stated reason for failing to proffer a witness as to a single topic is the

 “overbreadth” of the topics.25 Relators’ Second, Third, and Fifth Notices contain 14, 9, and 9

 topics, respectively, and are facially narrow. The Fourth Notice contains 34 topics, but the

 number of topics is primarily a function of the breadth of alleged violations in the case. Relators’

 Third Amended Complaint alleges numerous distinct violations related to loan modification

 practices, including pretextual and other improper modification denials, untimely reviews,

 capitalizing unloaned principle, capitalizing escrow without credits, improper foreclosures,

 improper offshore underwriting and modification reviews, false affidavits, providing false or

 incomplete information to borrowers, and numerous other violations.26 Although concededly

 substantial, the burden of preparing witnesses for these topics is consonant with a case alleging

 billions of dollars in ill-gotten gains from a national, company-wide, and systematic scheme to

 defraud the federal government. As a practical matter, preparation for numerous topics will


 21
    Id., topics 6–14.
 22
    Ex. B, Relators’ Third 30(b)(6) Notice.
 23
    Ex. C, Relators’ Fourth 30(b)(6) Notice.
 24
    Ex. D, Relators’ Fifth 30(b)(6) Notice.
 25
    Ex. I, May 8 Letter, at 6.
 26
    Relators’ Third Am. Complaint, Dkt. 59, at 19–100.
 RELATORS’ EMERGENCY MOTION TO COMPEL                                                          Page 8
Case 4:12-cv-00543-ALM Document 175 Filed 06/25/15 Page 11 of 19 PageID #: 8334




 likely substantially overlap. For example, almost half the topics in the Fourth Notice concern

 Ocwen’s audit practices and findings. Because it is likely that any audits would have tracked

 numerous violations, investigating Ocwen’s knowledge regarding the audits will encompass

 numerous topics related to violations. In any case, Ocwen has never argued it would be unable to

 prepare witnesses for any particular noticed topic.

         Ocwen’s May 8 letter cites several inapt cases holding that noticed deposition topics were

 overbroad.27 The 66 topics broken up into four notices by subject matter in this case are far

 different from the 229-topics noticed in the Apple v. Samsung case Ocwen discusses, which the

 court found taken together “border[ed] on extreme” and for which Samsung could not explain

 how a witness could possibly be prepared to testify about them.28 In contrast, Relators’ noticed

 topics here are manageable and consistent with the breadth of the alleged violations. Even in

 Apple, the Court noted that “Apple could and perhaps should have offered one or more witnesses

 on a selection of the more discrete topics noticed.”29 Ocwen has refused to discuss objections to

 specific topics, much less provide a witness for topics it does not consider overbroad.

         Ocwen’s May 8 letter also cites cases granting protection based in part on the fact that the

 notices at issue included irrelevant and duplicative topics and topics not described “with

 reasonable particularity.”30 Ocwen has made no such objections in this case, and at this point

 such objections are waived by failing to timely provide them. Notably, even with these defects in

 27
    Ex. I, May 8 Letter, at 6–7.
 28
    Apple, 2012 WL 1511901, at * 2.
 29
    Apple, 2012 WL 1511901, at * 3.
 30
    Ocwen’s May 8 letter (Ex. I) cites the following inapt cases on pp. 6-7: Gulf Prod. Co. v. Hoover Oilfield Supply,
 Inc., No. 08-05016, 2011 WL 2669294, at *4-5 (E.D. La. July 7, 2011) (finding, unlike here, many topics “seek
 irrelevant information” and are “duplicative”); E.E.O.C. v. The Vail Corp., No. 07-2035, 2008 WL 5104811, at * 2
 (D. Colo. Dec. 3, 2008) (finding, unlike here, that many of the noticed topics were “irrelevant or duplicative” but
 nevertheless ordering the deposition to go forward on a limited basis); Krasney v. Nationwide Mut. Ins. Co., No. 06-
 1164, 2007 WL 4365677, at * 3 (D. Conn. Dec. 11, 2007) (finding the noticed topics extended beyond the plaintiff
 to “virtually the entire federal government” and required the production of documents which were “of marginal,
 tangential, or dubious relevance,” but nevertheless ordering the deposition to go forward on most of the noticed
 topics).
 RELATORS’ EMERGENCY MOTION TO COMPEL                                                                          Page 9
Case 4:12-cv-00543-ALM Document 175 Filed 06/25/15 Page 12 of 19 PageID #: 8335




 Ocwen’s cited cases (rendering them inapplicable), two of the courts still found that the noticed

 party was required to provide a witness for at least some of the noticed topics.31 Ocwen can

 provide no authority for its wholesale unwillingness to engage in compromise discussions and

 provide a witness for at least some of the topics and production of the associated documents.

            B.       The Deposition Notices are Procedurally Proper.

            Ocwen’s meet and confer letters take issue with the conditioning of the deposition dates

 on the substantial completion of their document production. Contrary to Ocwen’s assertions, the

 notices do in fact provide dates certain, with the common sense proviso that the depositions

 should occur after the substantial production of documents.32 Ocwen has cited no authority

 indicating this approach is improper. In fact, as this Court is aware, it is common for parties to

 negotiate mutually agreeable dates for depositions. It is also common and reasonable for parties

 to wait until the production of predicate documents before scheduling a deposition, particularly

 when it obviates the need for multiple depositions of the same witness(es) on the same topic(s).

            It is incongruous for Ocwen to delay its document production while arguing a notice is

 technically deficient for postponing the dates until the adequate production is complete. Relators

 would of course be willing to go through with the depositions at any time, provided Ocwen does

 not object to subsequent depositions after the substantial completion of its deficient document

 production—although, to do so would be wasteful.

            C.       Ocwen’s Delay Jeopardizes the Court’s Schedule.

            On multiple occasions Relators have invited Ocwen to point out with specificity any

 requests that it finds objectionable, so that Relators can obtain the most relevant information

 while avoiding Court intervention. Ocwen has flatly refused to engage in the “trading and

 31
      The E.E.O.C. and Krasney courts ordered the depositions to go forward with limitations.
 32
      Notices, Exs. A–D.
 RELATORS’ EMERGENCY MOTION TO COMPEL                                                           Page 10
Case 4:12-cv-00543-ALM Document 175 Filed 06/25/15 Page 13 of 19 PageID #: 8336




 compromising that is and should be typical of” the process of “negotiating the topics for the Rule

 30(b)(6) depositions.”33 Ocwen cannot reasonably think that it can ultimately avoid providing

 witnesses for these topics that are typical for complex cases, so the only benefit of its tactics is

 delay.

          Ocwen’s refusal to proffer 30(b)(6) witnesses is consistent with and exacerbated by its

 delay in producing documents. As discussed above, Ocwen has produced just over 700 business

 documents to date.34 Relators need a substantially complete production of business documents

 before they can conduct meaningful 30(b)(6) depositions (unless the depositions are repeated on

 the same topics). Ocwen’s meet and confer letters describe a painstaking multi-tiered, document-

 by-document review process that would have been unnecessary even in the era before electronic

 discovery, much less in 2015.35 Following this archaic approach would make modern electronic

 discovery impossible in a case of any complexity. Given the robust Clawback Order in this case,

 Ocwen should have produced all the relevant documents months ago, having run only privilege

 cull terms, as is consistent with modern electronic discovery practice.36

          A brief description of Relators’ discovery plan illustrates the prejudice caused by

 Ocwen’s delay. Relators intend to prove numerous violations of laws and regulations related to

 loan modifications by Ocwen, and the necessary discovery must occur to a certain extent in

 sequential steps.




 33
    Kubicki on behalf of Kubicki v. Medtronic, Civ. Action No. 12–734, 2014 WL 7351938, at *3 (D.D.C. Dec. 23,
 2014).
 34
    Ex. G, Walker Decl., ¶ 3.
 35
    Ex. I, May 8 Letter, at 3.
 36
    Agreed Clawback Order, Dkt. 120. Having the small number of documents already produced, it appears a
 substantial amount of time is being taken to provide unnecessary redactions, such as loan numbers and borrower
 names. Calling a halt to this practice, which is improper and unnecessary where a protective order governs
 documents, would likely speed up the production process.
 RELATORS’ EMERGENCY MOTION TO COMPEL                                                                  Page 11
Case 4:12-cv-00543-ALM Document 175 Filed 06/25/15 Page 14 of 19 PageID #: 8337




          First, Relators need to review many thousands of Ocwen loan files to determine the

 nature and extent of violations. This process requires the involvement of multiple experts and

 will require a detailed review of each file. Ocwen has produced only 14 sample loan files to date,

 and even those were grossly inadequate and in an unusable format.37 Simultaneously, Relators

 must review Ocwen’s business plans, emails, and other internal business documents that

 corroborate and further explain the evidence from the loan files. Ocwen has produced essentially

 no relevant business documents.38 Relators would ideally like to provide the Court with a

 specific list of documents Ocwen has failed to produce, but Ocwen’s production has been so

 sparse (consisting primarily of sanitized policies and procedures) that Relators have little

 knowledge about the kinds of documents Ocwen has.                        Some priority documents (without

 prejudice to seeking all the documents requested in Relators’ requests for production)39 would

 include the following documents showing Ocwen’s actual conduct and practices, rather than the

 sanitized policies and procedures it has partially produced:

          (1)    Audits, reports, summaries, evaluations or similar documents tracking or
          evidencing potential and/or actual servicing violations and compliance issues;40

          (2)     Emails or other written communications involving Home Retention or loss
          mitigation managers and/or other Ocwen or subcontractor employees discussing
          potential, perceived and/or actual violations of (a) the SPA, including attachments, or (b)
          federal or state laws, regulations, rules and/or requirements governing Ocwen’s servicing
          business;




 37
    The parties are continuing to work out a protocol for the loan files at Ocwen’s typical pace.
 38
    The majority of the produced documents are sanitized policy and procedure documents, along with some a small
 number of emails from the former Chairman, Mr. Erbey.
 39
    Ex. H, Relators’ First Requests for Production; Ex. P, Relators’ Second Requests for Production.
 40
    This should include, but is not limited to, any documents reflecting compliance or non-compliance with Ocwen’s
 certifications, representations, warranties, agreements and/or obligations (a) contained in its Servicer Participation
 Agreements (SPA), including attachments or (b) arising from federal or state laws, regulations, rules and/or
 requirements for federal lending or servicing programs under HUD or other agencies of the United States or the
 several States thereunder. It should also include self-reporting to reporting to federal and/or state agencies.
 RELATORS’ EMERGENCY MOTION TO COMPEL                                                                          Page 12
Case 4:12-cv-00543-ALM Document 175 Filed 06/25/15 Page 15 of 19 PageID #: 8338




            (3)    Business plans and executive level documents (e.g., Board of Directors’ meeting
            minutes, Executive Committee reports, consulting reports) that discussed Ocwen’s
            potential and/or actual violations or compliance issues.

            Second, after reviewing and analyzing the documents and the violations found therein,

 Relators will need to conduct numerous depositions concerning the documents. This will require

 30(b)(6) depositions (at issue in this motion), depositions of current and/or former Ocwen

 employees, and depositions of witnesses related to the HAMP and/or FHA programs.

            Third, based on the depositions, Relators will inevitably need to seek additional

 documents to supplement Ocwen’s production, which will in turn require additional analysis.

            Fourth, Relators’ experts need to evaluate the written and testimonial discovery, so that

 they can form opinions regarding the nature and extent of Ocwen’s violations and provide

 reports.

            If Ocwen were fully cooperative, the discovery process would still take several months

 because of the sheer scale of the violations, volume of relevant documents and number of

 relevant witnesses. At Ocwen’s current pace of trickling out small, piecemeal productions, a full

 production could take literally a decade. Ocwen’s delay and misuse of the meet and confer

 process also results in mounting, unnecessary legal costs. More importantly, Ocwen’s delay has

 made the Court’s current schedule unworkable, which is the primary reason for the parties’

 recent Joint Motion to Amend Scheduling Orders (Dkt. 173), which the Court denied in part and

 granted in part. The current dispositive motion deadline is August 21, 2015.41 The current expert

 deadline is August 28, 2015. Defendants’ delay has undermined the Relators’ rights to

 reasonably review and evaluate a complete discovery production prior to these deadlines, which

 is why Relators are filing this as an emergency motion.


 41
      Scheduling Order, Dkt. 123.
 RELATORS’ EMERGENCY MOTION TO COMPEL                                                         Page 13
Case 4:12-cv-00543-ALM Document 175 Filed 06/25/15 Page 16 of 19 PageID #: 8339




            Ocwen’s current discovery game is not new; it is standard operating procedure for the

 company, which is trying to avoid liability via discovery games. In January 2013, the California

 Commissioner of Business Oversight (“the Department”) commenced a regulatory examination

 of Ocwen’s loan servicing practices.42 As part of the examination, the California regulators

 “made reasonable requests to Ocwen . . . for the production of information and documents for

 borrower loan files.” Eventually, as a result of “Ocwen’s repeated failure to timely and fully

 comply with the Commissioner’s requests for information and documentation, the Department

 initiated an action . . . to suspend Ocwen’s license.” Even with its California servicing license at

 stake, Ocwen “fail[ed] to timely and fully comply with the Commissioner’s requests for

 information and documents . . . .” Ocwen continued to fail to produce loan files after “a

 California administrative law judge” ordered their production. “Ocwen’s repeated failure to

 timely produce all the information and documents requested by the Department [ ] caused

 unnecessary delay of the Department’s examination.” As a result, Ocwen voluntarily entered into

 a consent order stating “[u]pon the effective date of this Consent Order, Ocwen will cease

 acquiring any additional mortgage servicing rights, from any source, for loans secured by

 properties in California until the Department is satisfied that Ocwen can satisfactorily respond to

 the requests for information and documentation made in the course of the regulatory exam.” “For

 its repeated failure to timely produce the information and documents requested,” Ocwen agreed

 to pay a $2,500,000 penalty, plus the Department’s examination costs. We respectfully request

 that the Court intervene to stop Ocwen’s similar games in this case so that discovery may truly

 commence, information can be fairly exchanged and reviewed, and this case can continue toward

 trial.


 42
      California Consent Order, attached as Ex. M.
 RELATORS’ EMERGENCY MOTION TO COMPEL                                                         Page 14
Case 4:12-cv-00543-ALM Document 175 Filed 06/25/15 Page 17 of 19 PageID #: 8340




         Ocwen’s refusal to give the discovery process in this case the attention it deserves, as if it

 were a mere “nuisance case” requiring de minimis efforts, is inconsistent with its prior admission

 to widespread servicing violations. In particular, Ocwen already “agreed” that New York

 regulators found “numerous and significant violations of . . . New York state laws and

 regulations,” including 1,358 violations from a review of only 478 New York loans.43 Ocwen

 also agreed that New York “uncovered a number of conflicts of interest between Ocwen and

 other public companies.”44 As a result of these agreed facts, Ocwen paid $150,000,000, including

 a $100 million civil monetary penalty and its Chairman (who had multiple conflicts of interest)

 was forced to resign.45 The United States Government did not receive any compensation for the

 misconduct related to the New York loans, nor has it been compensated for servicing misconduct

 in the 49 other states. The Court, the government, the Relators, and the taxpayers deserve

 complete and timely discovery responses, not endless delay.

                        V.      CONCLUSION AND PRAYER FOR RELIEF

         Based on the foregoing, Relators respectfully request that the Court order the following:

         (1)      Ocwen must complete its production of business documents (all responsive
                  documents except loan files) by 10 days from the Court’s Order; and

         (2)      Ocwen must provide dates for the requested 30(b)(6) depositions between 45 and
                  60 days of the Court’s Order.

         As an alternative to (1), the Court may wish to consider an order requiring all parties to

 produce all documents reasonably bearing on a claim or defense by a date certain (e.g., twenty

 days form the date of the order).




 43
    New York Consent Order, Ex. O, at 5.
 44
    Id. at 8.
 45
    Id. at 20.
 RELATORS’ EMERGENCY MOTION TO COMPEL                                                           Page 15
Case 4:12-cv-00543-ALM Document 175 Filed 06/25/15 Page 18 of 19 PageID #: 8341




 Dated: June 25, 2015               Respectfully submitted,


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 RELATORS’ EMERGENCY MOTION TO COMPEL                                   Page 16
Case 4:12-cv-00543-ALM Document 175 Filed 06/25/15 Page 19 of 19 PageID #: 8342




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                              CERTIFICATE OF CONFERENCE

         I hereby certify that on numerous occasions, including through the letters and phone calls
 referenced above, I conferred with counsel for Defendant in good faith regarding the matters at
 issue in this motion. Counsel for the parties were unable to resolve the issue relating to this
 Motion to Compel, and filed the Motion pursuant to the Court’s instruction in reference to the
 Scheduling Order procedure.

                                              /s/ Chad B. Walker
                                              Chad B. Walker


                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
 document has been served on June 25, 2015 to all counsel of record who are deemed to have
 consented to electronic service via the Court’s CM/ECF system per Local Rule CV-5(a)(3).

                                                  /s/ Thomas M. Melsheimer
                                                  Thomas M. Melsheimer




 RELATORS’ EMERGENCY MOTION TO COMPEL                                                       Page 17
